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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA

DENNIS MONTGOMERY, et al.,          )                3:06-CV-0056-LRH (VPC)
INC.,                               )
                                    )
            Plaintiff,              )                MINUTES OF THE COURT
                                    )
      vs.                           )                November 6, 2006
                                    )
ETREPPID TECHNOLOGIES, LLC, et al., )
                                    )
            Defendants.             )
____________________________________)

PRESENT:       THE HONORABLE VALERIE P. COOKE, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:                LISA MANN               REPORTER: NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

        On the afternoon of Friday, November 3, 2006, the court received the Nevada State
Democratic Party’s emergency motion to intervene and to unseal court records (#98). Although
the motion is styled as an “emergency,” the moving party failed to seek an order shortening time
pursuant to Local Rule 6-2. Nevertheless, the court will set a briefing schedule on shortened
time as follows:

       1.      Oppositions to the emergency motion to intervene and to unseal court records
               shall be due on or before Friday, November 10, 2006; and
       2.      Replies shall be due on or before Wednesday, November 15, 2006.

       Upon review of the parties’ papers, the court will decide whether to set a hearing or to
deem the motion submitted for decision.

       IT IS SO ORDERED.

                                                     LANCE S. WILSON, CLERK

                                             By:       /s/
                                                     Deputy Clerk
